        Case: 22-51062    Document: 57    Page: 1    Date Filed: 08/16/2023




                    United States Court of Appeals
                                  FIFTH CIRCUIT
                               OFFICE OF THE CLERK
LYLE W. CAYCE                                                      TEL. 504-310-7700
CLERK                                                           600 S. MAESTRI PLACE,
                                                                        Suite 115
                                                               NEW ORLEANS, LA 70130

                              August 16, 2023


Mr. Bradford W. Bogan
Federal Public Defender’s Office
Western District of Texas
300 Convent Street
Suite 2300
San Antonio, TX 78205

Mr. Charles E. Fowler Jr.
U.S. Attorney’s Office
Western District of Texas
903 San Jacinto Boulevard
Suite 334
Austin, TX 78701

Ms. Maureen Scott Franco
Federal Public Defender’s Office
Western District of Texas
300 Convent Street
San Antonio, TX 78205

Mr. Joseph H. Gay Jr.
U.S. Attorney’s Office
Western District of Texas
601 N.W. Loop 410
San Antonio, TX 78216

      No. 22-51062       USA v. Collette
                         USDC No. 7:22-CR-141-1


Dear Counsel,
Your appeal has been placed in abeyance this date pending a
decision in United States Supreme Court No. 22-915. Once the case
has been removed from abeyance, you will receive notification from
this court with any additional instructions.
Case: 22-51062   Document: 57   Page: 2   Date Filed: 08/16/2023



                          Sincerely,
                          LYLE W. CAYCE, Clerk


                          By: _________________________
                          Charles B. Whitney, Deputy Clerk
                          504-310-7679
